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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,

             Plaintiff,
                                                     C.A. No.
      v.
                                                     TRIAL BY JURY DEMANDED
MUJI U.S.A. LIMITED

             Defendant.


                     COMPLAINT FOR INFRINGEMENT OF PATENT

       COMES NOW, Plaintiff Symbology Innovations LLC (“Symbology” or Plaintiff),

through the undersigned attorneys, and respectfully alleges, states, and prays as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement under the Patent Laws of the United

States, Title 35 United States Code (“U.S.C.”) to prevent and enjoin defendant Muji U.S.A.

Limited, (hereinafter “Defendant”), from infringing and profiting, in an illegal and unauthorized

manner and without authorization and/or of the consent from Symbology, from U.S. Patent Nos.

8,424,752 (the “‘752 patent”, attached hereto as Exhibits A); 8,651,369 (the “‘369 patent”,

attached hereto as Exhibits B); and 8,936,190 (the “‘190 patent”, attached hereto as Exhibits C)

(collectively the “Patents-In-Suit”) pursuant to 35 U.S.C. § 271, and to recover damages,

attorney’s fees, and costs.

                                         THE PARTIES

       2.      Plaintiff Symbology is a Texas company with its principal place of business at

1400 Preston Road, Suite 400, Plano, TX 75093.

       3.      Upon information and belief, Defendant is a corporation organized under the laws

of Delaware, having a principal place of business at 180 Pulaski Street, Bayonne, NJ, 07002.

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Upon information and belief, Defendant may be served with process at Corporation Service

Company, 251 Little Falls Drive, Wilmington, DE 19808.

                                  JURISDICTION AND VENUE

        4.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a) because the action arises under the Patent Laws of the United States, 35

U.S.C. §§ 1 et seq.

        5.       This Court has personal jurisdiction over Defendant by virtue of its systematic

and continuous contacts with this jurisdiction as well as because of the injury to Symbology, and

the cause of action Symbology has risen, as alleged herein.

        6.       Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Delaware Long Arm Statute, due at least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Delaware and in

this judicial district.

        7.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b) because

Defendant resides in this District, and/or has committed acts of infringement and has a regular

and established place of business in this District.

                                   FACTUAL ALLEGATIONS

        8.       The written description for the Patents-in-Suit indicates that electronic devices at

the time of the invention could be enhanced with software applications to enable the information

retrieval procedures described by the Patents-in-Suit.




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        9.      Accordingly, the combination of steps and/or functionalities—as embodied for

example in claim 1—resulted in the enhancement or improvement of electronic devices at the

time of the invention.

                                                ‘752 patent

        10.     On April 23, 2013, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘752 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

        11.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘752 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘752 patent, including the exclusive right to recover for past

infringement.

        12.     The ‘752 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘752 patent.

        13.     The invention claimed in the ‘752 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

        14.     The Notice of Allowance for the patent application that resulted in the ‘752 patent

—dated December 19, 2012— indicates that the prior art of record, taken alone, or in

combination with any other prior art, fails to teach or fairly suggest the specific features recited

in the claims of the ‘752 patent.




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                                                ‘369 patent

        15.     On February 18, 2014, the United States Patent and Trademark Office

(“USPTO”) duly and legally issued the ‘369 patent, titled “System and method for presenting

information about an object on a portable electronic device” after a full and fair examination.

        16.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘369 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘369 patent, including the exclusive right to recover for past

infringement.

        17.     The ‘369 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘369 patent.

        18.     The invention claimed in the ‘369 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

        19.     The Notice of Allowance for the patent application that resulted in the ‘752 patent

—dated October 9, 2013— indicates that the prior art of record, taken alone, or in combination

with any other prior art, fails to teach or fairly suggest the specific features recited in the claims

of the ‘369 patent.

                                                ‘190 patent

        20.     On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘190 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.




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        21.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘190 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘190 patent, including the exclusive right to recover for past

infringement.

        22.     The ‘190 patent contains three independent claims and seventeen dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘190 patent.

        23.     The invention claimed in the ‘190 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

        24.     The Notice of Allowance for the patent application that resulted in the ‘752 patent

—dated September 15, 2014— indicates that the prior art of record, taken alone, or in

combination with any other prior art, fails to teach or fairly suggest the specific features recited

in the claims of the ‘190 patent.



                                         COUNT I
                              INFRINGEMENT OF THE ‘752 PATENT

        25.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 24.

        26.     In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘752 patent.

        27.     Defendant has had knowledge of infringement of the ‘752 patent at least as of the

service of this complaint.




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       28.     On information and belief, Defendant has infringed and continues to infringe at

least Claim 1 of the ‘752 patent by using and/or incorporating Quick Response Codes (QR

codes) into promotional material in a manner covered by ‘752 patent, and upon doing so,

performing all of the steps of at least Claim 1 of the ‘752 patent upon internally testing said QR

Codes with an electronic device capable of both reading the QR Code and performing the steps

set forth in Claim 1. Defendant has infringed and continues to infringe the ‘752 Patent in

violation of 35 U.S.C. § 271.

       29.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into promotional material, associating such QR codes with products

and/or services. One specific example of Defendant’s activity involves the use of QR codes on

promotional material associated with Defendant’s products/services.

       30.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with its promotional

material, an example of which is shown below.




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      31.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of

a smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.

      32.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the product or service associated with the QR code). On information and belief, the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.




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       33.       For example, if a user scans a QR code associated with Defendant’s promotional

material, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the

QR code. In this example, the information received by the user and displayed on the portable

electronic device is information related to Defendant’s products/services, and includes a website

providing additional information about the product/service as shown below.




       34.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘752 patent, pursuant to 35 U.S.C. § 271.

       35.       Defendant has committed these acts of infringement without license or

authorization.




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       36.     As a result of Defendant’s infringement of the ‘752 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       37.     Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                        COUNT II
                              INFRINGEMENT OF THE ‘369 PATENT

       38.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 37.

       39.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘369 patent.

       40.     Defendant has had knowledge of infringement of the ‘369 patent at least as of the

service of this complaint.

       41.     On information and belief, Defendant has infringed and continues to infringe at

least Claim 1 of the ‘369 patent by using and/or incorporating QR codes into promotional

material in a manner covered by the ‘369 patent and upon doing so, performing all of the steps of

at least Claim 1 of the ‘369 patent upon internally testing said QR Codes with an electronic

device capable of both reading the QR Code and performing the steps set forth in Claim 1.

Defendant has infringed and continues to infringe the ‘369 Patent in violation of 35 U.S.C. §

271.

       42.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into its promotional material, associating such QR codes with products

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and/or services. One specific example of Defendant’s activity involves the use of QR codes on

promotional material associated with Defendant’s products/services.

       43.    For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with its promotional

material, an example of which is shown below.




       44.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.

       45.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief, the


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scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.

          46.   For example, if a user scans a QR code associated with Defendant’s promotional

material, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the

QR code. In this example, the information received by the user and displayed on the portable

electronic device is information about Defendant’s products/services, and includes a website

providing additional information related to the product/service as shown below.




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       47.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘369 patent, pursuant to 35 U.S.C. § 271.

       48.       Defendant has committed these acts of infringement without license or

authorization.

       49.       As a result of Defendant’s infringement of the ‘369 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       50.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                         COUNT III
                               INFRINGEMENT OF THE ‘190 PATENT


       51.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 50.

       52.       In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘190 patent.

       53.       Defendant has had knowledge of infringement of the ‘190 patent at least as of the

service of this complaint.

       54.       On information and belief, Defendant has infringed and continues to infringe at

least Claim 1 of the ‘190 patent by using and/or incorporating QR codes into promotional

material in a manner covered by the ‘190 patent and upon doing so, performing all of the steps of

at least Claim 1 of the ‘190 patent upon internally testing said QR Codes with an electronic



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device capable of both reading the QR Code and performing the steps set forth in Claim 1.

Defendant has infringed and continues to infringe the ‘190 Patent in violation of 35 U.S.C. §

271.

       55.    On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into promotional material, associating such QR codes with products

and/or services. One specific example of Defendant’s activity involves the use of QR codes on

promotional material associated with Defendant’s products/services.

       56.    For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with its promotional

material, an example of which is shown below.




       57.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a




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smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.

          58.   On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief, the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.

          59.   For example, if a user scans a QR code associated with Defendant’s promotional

material, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the

QR code. In this example, the information received by the user and displayed on the portable

electronic device is information about Defendant’s products/services, and includes a website

providing additional information related to the product/service as shown below.




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       60.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘190 patent, pursuant to 35 U.S.C. § 271.

       61.       Defendant has committed these acts of infringement without license or

authorization.

       62.       As a result of Defendant’s infringement of the ‘190 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       63.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.


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                                      DEMAND FOR JURY TRIAL

      64. Symbology demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

          WHEREFORE, Symbology prays for the following relief:

          a. That Defendant be adjudged to have directly infringed the Patents-In-Suit either

literally or under the doctrine of equivalents;

          b. An accounting of all infringing sales including, but not limited to, those sales not

presented at trial;

          c. That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the Patents-In-Suit;

          d. An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Symbology for the Defendant’s past infringement and any continuing or future infringement up

until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;

          e. An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

and

          f. That Symbology have such other and further relief as this Court may deem just and

proper.

Dated: August 17, 2018                            Respectfully Submitted,

                                                  STAMOULIS & WEINBLATT LLC

                                                  /s/Stamatios Stamoulis
                                                  Stamatios Stamoulis (#4606)

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